                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
v.                                                                    Case No: 17-CR-122

RAMOR DIS TICARET, LTD.,
a/k/a The Ramor Group,
RESIT TAVAN, and
FULYA KALAFATOGLU OGUZTURK,

                       Defendants.

             DEFENDANT’S MOTION FOR PRETRIAL RELEASE ON BOND

        NOW COMES the Defendant, RESIT TAVAN, (hereinafter “Tavan”) by and through his

retained counsel, Nejla K. Lane (“Lane”) of Lane Keyfli Law, Ltd., moves this Honorable Court,

pursuant to 18 United States Code Section §3142, for release from the Waukesha County Jail

pending trial on reasonable bond. In support of said request, Tavan asserts the following:

     1. Tavan has been continuously incarcerated since his arrest in Romania – on June 8, 2017.

     2. On December 8, 2017, Tavan was extradited to the United States – Wisconsin; he has

        been held in Waukesha County Jail since such time without bond.

     3. Pursuant to 18 U.S. Code §3142, Tavan respectfully moves this Court for release pending

        trial under the following conditions which will eliminate the risk of flight.

            a. Tavan has rented an apartment close to the Court House in Milwaukee,

               Wisconsin, where his family will hopefully join him soon. (Lease available upon

               request).

            b. Tavan will submit to electronic Global Positioning System (GPS) monitoring.




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       c. Tavan will regularly check in with Lane, his retained counsel who is willing to act

           as a third-party custodian.

4. Tavan has no criminal background, in fact he has never before been charged with any

   criminal act and he poses absolutely no danger if released into the community awaiting

   his trial in the United States. (See Exhibit 1, Turkish Police Background check).

5. Upon his release, Tavan will be able to assist his attorneys, whose office is located in

   Chicago, Illinois, in preparing his case for trial. Tavan does not speak English and has

   been struggling greatly with the language barrier in jail. Lane is aware of the language

   barrier and has the benefit of a Turkish-speaking legal assistant to help adequately

   prepare Tavan for his trial.

6. Tavan is a married businessman with three (3) young children who currently live in

   Turkey with their mother. Lane, who is also a seasoned immigration attorney, is helping

   Tavan’s family obtain visas to come to the U.S. and join their father and husband. Lane is

   seeking a recommendation letter from the Consul General of the Republic of Turkey in

   Chicago, which will move the visa process along. Tavan’s family will give him

   emotional support and their reunification will allow him to prepare for trial more

   effectively. (See Exhibit 2, Family Photos).

7. Tavan has been separated from his family since June 8, 2017 and this prolonged absence

   has taken its toll on his wife and children.

       a. Tavan’s wife is currently being treated for severe depression and anxiety

           stemming from Tavan’s incarceration and lack of support while she cares for

           three children on her own. (Records available upon request).




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            b. Tavan has a three (3) year old son, Yusuf. At such a young age, Yusuf’s

                childhood development is especially vulnerable, and his father’s absence has

                already caused several setbacks, including: separation anxiety, defiance,

                combativeness, and articulation problems. (Records available upon request).

            c. Tavan has raised his step-son, Kaan, like his own child since 2012. After Tavan’s

                incarceration, Kaan has been emotionally struggling and is showing abnormal

                behavior for an eight (8) year old child, evidenced in how he refused to celebrate

                his birthday without his “father” present. (Records available upon request).

     8. Tavan suffers from depression and a lingering back injury. Being held in the Waukesha

        County Jail, where he is unable to communicate with his family easily, is exacerbating

        his pre-existing mental and physical health issues.

     9. Pursuant to 18 U.S. Code § 3142(g), the judicial officer shall, in determining whether

        there are conditions of release that will reasonably assure the appearance of the person as

        required and the safety of any other person and the community, and consider the

        available information concerning:

              (1) the nature and circumstances of the offense charged, including whether the
              offense is a crime of violence, a violation of section 1591, a Federal crime of
              terrorism, or involves a minor victim or a controlled substance, firearm,
              explosive, or destructive device; (2) the weight of evidence against the person;
              (3) The history and characteristics of the person; and (4) the nature and
              seriousness of the danger to any person or the community that would be posed
              by the person’s release.

I.      The Nature And Circumstances Of The Offenses Charged and the Weight of the
        Evidence Favor Tavan Being Released On Bond.
     10. Count 1 of the Indictment accuses Tavan of knowingly and intentionally, conspiring to

        defraud the United States by impairing, impeding, and obstructing the lawful




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   governmental functions of the United States Department of Treasury and to commit an

   offense against the United States through smuggling.

       a. The potential sentence for this charge is 0-5 years in prison.

11. Counts 2-4 of the Indictment claim Tavan knowingly and willfully violated the embargo

   against Iran by attempting to export and causing to be exported goods from the United

   States to Iran without having first obtained the required authorizations.

       a. These Counts have a potential sentence of 0-20 years in prison.

12. Counts 5-7 of the Indictment claim that Tavan fraudulently exported items in violation of

   the laws of the United States on three (3) different occasions.

       a. These Counts have a potential sentence of 0-10 years.

13. Counts 8-13 claim that Tavan transmitted and transferred monetary instruments and

   funds from Turkey to a place inside the United States with an unlawful purpose on five

   (5) different occasions.

       a. These Counts have a potential sentence of 0-20 years.

14. The aforementioned charges are not as serious as they sound. Tavan simply got caught up

   in a misunderstanding and the charges relate to imports from his business. Tavan’s

   business had a wide and varied scope. This scope includes food import and export,

   construction, tourism, real estate transactions, just to mention a few areas. The goods

   relevant to his charges are just two engines purchased in Wisconsin, which are outside of

   the scope of his normal business or expertise and he simply made a mistake. These

   charges will be addressed at trial.




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      15. After reviewing the discovery from the Government, it appears that their case is weak

         and based on multi language translated materials and/or hearsay at best. Considering the

         aforementioned factors, Tavan should be released on bond.

      16. At a Detention Hearing, the Judicial Officer assesses what conditions of release would

         assure the safety of any other person and the community. In doing so, they consider

         whether the case involves crimes of violence, an offense where the maximum sentence is

         life imprisonment or death, offenses where the maximum imprisonment is ten years or

         more as relating to Controlled Substances, and/or felonies involving minor victims or the

         possession/use of a firearm. See 18 U.S. Code § 3142(f)(1)(A) – (E).

             a. Tavan has not been accused of any of these types of crimes.

      17. While considering the strength of the Government’s case and weight of the evidence in

         regard to pretrial detention, Courts have found that “this is, however, the least important

         of the various factors. Moreover, detention hearings are not meant to be mini-trials.”

         United States v. Hammond, 204 F. Supp. 2d 1157, 1165 (E.D. Wis. 2002).

      18. Considering how the Eastern District of Wisconsin referred to weight of the evidence as

         the least important of the relevant factors of pretrial release from detention, the evidence

         against Tavan is not strong enough for him to remain in jail until his trial proceeds.

         Detention hearings are not meant to be a trial on the facts of the case.

II.      Tavan’s History and Characteristics Demonstrate Why He Should Be Released on
         Bond
      19. Under 18 U.S. Code §3142(g)(3)(A), the Judicial Officer can take into account the

         available information concerning the “person’s character, physical and mental condition,

         family ties, employment, financial resources.”




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       20. The 7th Circuit stated “evidence of economic and social stability, coupled with the

          absence of any relevant criminal record, at least suggests that defendants would be less

          likely to engage in criminal activity while on pretrial release.” United States v.

          Dominguez, 783 F.2d 702, 707 (7th Cir. 1986).

       21. Tavan’s personal characteristics also support release on bond. He is forty years old and

          has spent his entire life in Turkey. As a successful businessman, Tavan oversaw many

          transactions, imports, and exports. More importantly, Tavan is a loving father and

          husband.

       22. Tavan has been incarcerated from June 8, 2017 up until December 8, 2017 in Romania

          and since his arrival to the U.S., he has been incarcerated in the Waukesha County Jail.

          Throughout this time, he has been separated from his wife and kids. As this case was

          labeled complex and taken out of the “speedy trial” schedule, there is no sight of the

          actual trial date yet. While both parties need time to thoroughly prepare this matter for

          trial, Tavan’s prolonged separation from his family is causing added physical and

          emotional stress.

III.      Tavan Is Not A Danger To The Community And Should Be Released on Bond.

       23. The finding of a presumption of dangerousness “cannot be based on evidence that he has

          been a danger in the past, except to the extent that his past conduct suggests the

          likelihood of future misconduct.” United States v. Dominguez, 783 F.2d 702, 707 (7th

          Cir. 1986).

       24. Tavan is accused of conspiracy and crimes relating to import and export. If Tavan were

          released on bond, he would not be a danger to the community. These are not inherently




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         dangerous to the community in Wisconsin. Looking at Tavan’s past conduct does not

         indicate a strong likelihood of future misconduct.

      25. Even considering that Tavan mistakenly purchased these two engines in 2013, this is not

         the same as charges of murder, pedophilia, drug trafficking or any crime that is inherently

         dangerous to the community.

IV.      Tavan Does Not Present a Risk of Flight

      26. Tavan is not a flight risk if released upon the conditions requested by the defense. The

         conditions proposed by the defense would guarantee that the defendant would have a

         stable living environment and could stay with his family pending the trial of this matter.

         Additionally, Tavan has no intention or ability to flee the United States.

      27. In another case where a foreign national was released on bond, the Court found that

               “Other operative facts in this case dispel the government's fear of his flight.
               First, while Hutchins may not own real property in this country, he has
               rented and furnished an apartment in Los Angeles at substantial personal
               expense. The government seems to think that ownership of real estate is the
               only sort of outlay that could tie a defendant to this country, but the Court
               does not concur.” United States v. Hutchins, No. 17-CR-124-2-JPS, 2017
               U.S. Dist. LEXIS 183385, at *10 (E.D. Wis. Nov. 6, 2017).

      28. Like the accused in Hutchins, Tavan plans to rent an apartment with his own funds for

         him and his family to stay in for the duration of this trial. He intentionally rented a 3-

         bedroom apartment for the comfort of his wife and children. The Lease Agreement

         begins on March 1, 2018.

      29. While Tavan is a foreign national, this does not mean that he is automatically a flight

         risk. In a similar case, the Eastern District of Wisconsin concluded that “the notion that

         Hutchins can escape the country without a passport is both true and irrelevant. Not

         having a passport will at a minimum make this more difficult, and the Bail Reform Act

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   does not mandate a set of conditions that will guarantee that the defendant cannot flee.”

   Id. at 11.

30. Under the conditions proposed by the defense, Tavan would not be able to flee the United

   States. Under GPS monitoring, if Tavan removed his monitoring bracelet, the authorities

   would be notified immediately, and Tavan would also be subject to additional criminal

   charges for violating the terms of his pretrial release.

31. Once Tavan’s wife and children arrive in Wisconsin, Tavan will have no reason to leave

   the United States as he proceeds with trial to clear his name. As a family man, Tavan

   would not jeopardize the safety of his wife and children by attempting to flee.

32. In addition, pretrial release on bond would ensure that Tavan stays in an agreed upon

   radius. In Hutchins, the Court found that when the accused’s friend paid the bond for the

   his release, that served as enough incentive for him to appear as required. Id. at 11. Here,

   Tavan’s wife and brother will help him pay the bond. These ties are certainly strong

   enough to prevent Tavan from being a flight risk. (Financial Documentation Available

   upon request).

33. The Court “may deny release only if no conditions will reasonably assure (1) the

   defendant’s appearance and (2) the safety of the community.” United States v. Chavez-

   Rivas, 536 F. Supp. 2d 962, 965 (E.D. Wis. 2008). (Emphasis added).

34. Tavan respectfully requests that this Court conduct a hearing on this motion for release at

   which time the defense will be prepared to present testimony in support of its request for

   pretrial release.




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                                    RELIEF REQUESTED

For these reasons stated above, Defendant, Resit Tavan, asks that this Court:

   A. Conduct a hearing at which time it can verify the representations made concerning the

       defendant’s living conditions if released to the community;

   B. Grant him release on personal recognizance or in the alternative unsecured appearance

       bond in the amount not exceeding $10,000; and,

   C. Grant such other, further, and different relief as the Court may deem just and proper

       under the circumstances.




                                                    Respectfully Submitted,

Dated this 2nd day of February 2018.

                                                    /s/ Nejla Lane, Esq.
                                                    Nejla Lane, Esq.
                                                    Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I, Nejla K. Lane, an attorney of record for this matter, hereby certify that on February 2,

2018, I caused a true and correct copy of the foregoing to be served upon all counsel of record by

filing same with the CM/ECF system, which will send notification of such filing to all attorneys

of record.




                                                     /s/ Nejla K. Lane Esq.
                                                     Nejla K. Lane Esq.




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